                     IN THE UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

DORIAN STEPNEY, et al.,                      )
                                             )
                      Plaintiffs,            )       07 C 5842
                                             )
                      v.                     )       Judge Edmond Chang
                                             )
CITY OF CHICAGO, et al.,                     )       Magistrate Soat Brown
                                             )
                      Defendants.            )       JURY TRIAL DEMANDED



             APPENDIX OF EXHIBITS IN SUPPORT OF PLAINTIFFS’
           RESPONSES TO DEFENDANTS’ MOTIONS IN LIMINE NO. 1-26


       Plaintiffs, by and through their attorneys, respectfully submit this appendix of exhibits in

support of their motion for responses to Defendants’ motions in limine number 1-26.


       Exhibit A                      Chicago Police Department D.S.O 07-06-01
       Exhibit B                      Deposition of Jefty Stepney excerpts
       Exhibit C                      Deposition of Cynthia Stepney excerpts
       Exhibit D                      Correspondence between counsel
       Exhibit E                      CD containing audio recordings of 911 calls
       Exhibit F                      minute order, Stepney v. City of Chicago, May 19, 2010
                                                    RESPECTFULLY SUBMITTED,


                                                    /s/ Elizabeth Mazur
                                                    Attorneys for Plaintiffs
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                                CERTIFICATE OF SERVICE

        I, Elizabeth Mazur, an attorney, certify that on February 3, 2011, I sent by CM/ECF
electronic filing a copy of this Appendix of Exhibits to Counsel of Record.



                                                     /s/ Elizabeth Mazur




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